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                             EXHIBIT 6
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From:            Thomas, Jeffrey Scott (ENRD)
To:              Thane D. Somerville; Thomas P. Schlosser; Joe Membrino
Cc:              Bartell, Stephen (ENRD)
Subject:         Hoopa Valley case
Date:            Tuesday, December 13, 2022 4:00:56 PM
Attachments:     image001.png


Dear Thane, Tom, and Joe:

We have spoken with our client and no decision has been reached on whether to implement the
winter flows recently approved by the Trinity River Council (TRC). To avoid you having to move for a
TRO, the Department of the Interior will commit that if it does decide to implement the winter flows
as recommended by the TRC, it will give the Tribe at least three (3) business days written notice
before doing so. Per Thane’s representations on our call yesterday, this should give the Tribe
sufficient time to file its request for a TRO before any adjustments in flow are implemented. Please
let us know if this proposal is amenable to the Tribe or if you have any questions.

Also, given a number of unexpected events and the need for internal review during the holiday
season, we will be filing a motion with the Court asking for a fourteen-day extension of time to file
our responsive pleading to your amended complaint. We will of course request a reciprocal
extension of time for the Tribe’s response. Please let us know whether the Tribe will oppose that
motion, which I will need to file tomorrow since I will be out of the country from December 15th
through December 20th. Stephen Bartell should be your contact at Justice while I am away.

Thank you very much. I look forward to hearing back from you at your earliest convenience.

Scott Thomas




         J. Scott Thomas, Trial Attorney
        Natural Resources Section
        Mobile: (202) 353-5731
        jeffrey.thomas2@usdoj.gov


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